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           Exhibit 350
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                         File 129 OAN Chanel Rion
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·6· · · FILE 129
·7· ·OAN CHANEL RION
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·1· · · · · · NEWS ANCHOR:· The polling director says this
·2· is a clear indication Americans want a divided
·3· government.· As media continues to ignore claims of
·4· election fraud, one millionaire has set out to prove
·5· their coverup in support of the truth.· One America's
·6· Chanel Rion reports.
·7· · · · · · CHANEL RION:· Patrick Byrne, founder and
·8· former CEO of Overstock.com has long considered himself
·9· a libertarian tech entrepreneur.· Byrne now finds
10· himself more than entrepreneur.· He's on a mission to
11· save the republic from a deadly virus, widespread
12· machine and software election fraud.· He's doing this by
13· funding a niche group of experts, and the Trump legal
14· team has been listening.
15· · · · · · You've put together a group of individuals
16· who are trying to crack down on the fraud that is
17· Dominion.· Tell us more about what you've been doing.
18· · · · · · PATRICK BYRNE:· Yes.· Well, I funded a team of
19· hackers and cyber sleuths and other people with odd
20· skills.· We've been on this since August.· One side
21· story to be pursued someday is this, the DHS, was warned
22· of all this in August and September.· We tried very
23· hard, and it was all crammed down, I mean from high
24· levels.
25· · · · · · CHANEL RION:· The experts Byrne is funding is


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·1· an elite cyber security team that has been hired by the
·2· state of Texas to investigate a series of irregularities
·3· in the Dallas elections of 2018.· The team consisted of
·4· members with backgrounds in military intelligence and
·5· federal law enforcement.· Byrne says the election
·6· irregularities in Dallas 2018 was rooted in Dallas's use
·7· of Dominion voting machines.· This group has been on
·8· Dominion's trail over two years.
·9· · · · · · PATRICK BYRNE:· I've been up there with them
10· since August and expanding and funding further and
11· deeper investigations.· So we really I kind of felt kind
12· of had the answer when everyone woke up November 4th and
13· saying what happened, and we couldn't quite believe we
14· couldn't get anyone to listen to us.
15· · · · · · CHANEL RION:· Their findings include a details
16· list of impossibilities, Dominion machines processing
17· more ballots than is physically possible, realtime data
18· showing Biden vote dumps that are statistically
19· impossible, and dozens of back door ways in which votes
20· by the thousands could be changed, manipulated or
21· deleted.
22· · · · · · PATRICK BYRNE:· When you get talking about,
23· you know, thousands of votes in a row for one candidate,
24· just to give you the mathematical odds against it, if
25· you're talking about a group that has a 96 percent


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·1· affinity for Biden, so imagine we're talking about a
·2· very heavily Biden ward.
·3· · · · · · CHANEL RION:· Right.
·4· · · · · · PATRICK BYRNE:· The chance of having a hundred
·5· votes in a row for Biden, if the chance if every vote is
·6· 96 percent for Biden, the chance you would have a
·7· hundred in a row is about 1.6 percent.· The chances you
·8· would have a thousand in a row goes to -- it's about
·9· like a couple quadrillion to one, and the chances that
10· you would have the kinds of numbers we're seeing where
11· there were places where there were tens of thousands of
12· votes in a row for Biden, the chances are quadrillions
13· and quadrillion against that could ever happen in
14· nature.
15· · · · · · CHANEL RION:· You didn't necessarily vote --
16· you did not vote for Donald Trump.· You· --
17· · · · · · (End of recording.)
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·3· · · · · · · · · ·CERTIFICATE OF REPORTER

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·5· · · · · · I, Charlotte Crandall, certify that I was

·6· authorized to and did transcribe the foregoing audio

·7· recorded proceedings and that the transcript is a

·8· true and complete record of my stenographic notes

·9· from an audio recording and was transcribed to the

10· best of my ability.

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12· · · · · · Dated this 21st day of July, 2021.

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18· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
19· · · · · · · · · · · Registered Professional Reporter

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